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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    TEXARKANA DIVISION

LINDA FINCH, as Next Friend                                                              PLAINTIFF
of Johnny Ebert


VS.                                  CASE NO. 4:05-CV-4070

TEXARKANA SCHOOL DISTRICT
NO. 7 OF MILLER COUNTY                                                                 DEFENDANT

                                              ORDER

        Before the Court is a Motion for Summary Judgment filed on behalf of Defendant Texarkana

School District No. 7 of Miller County. (Doc. 27). Plaintiff Linda Finch, as Next Friend of Johnny

Ebert, has responded. (Doc. 30). Defendant has replied to Plaintiff’s response. (Doc. 33). Plaintiff

filed a Sur-Reply to Defendant’s reply. (Doc. 37).

        For reasons stated in the Court’s Memorandum Opinion of even date, Defendant’s Motion

for Summary Judgment should be and hereby is GRANTED IN PART and DENIED IN PART.

Defendant’s Motion for Summary Judgment is GRANTED with regard to Plaintiff’s intentional

infliction of emotional distress claim, which is hereby DISMISSED with prejudice. Defendant’s

Motion for Summary Judgment is DENIED with regard to the remainder of Plaintiff’s claims.

Accordingly, Plaintiff’s claims brought pursuant to § 1983, Title IX, the Individuals with Disabilities

Education Act, Section 504 of the Rehabilitation Act, along with Plaintiff’s negligence claim,

proceed to trial by jury.

        IT IS SO ORDERED, this 3rd day of April, 2008.

                                                              /s/Harry F. Barnes
                                                       Hon. Harry F. Barnes
                                                       United States District Judge
